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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                               CRIMINAL MINUTES -- GENERAL

Case No.        CR 12-00392 DDP                                                       Dated: June 28, 2013

==========================================================================
PRESENT: HONORABLE DEAN D. PREGERSON, JUDGE

John A. Chambers                        None Present                             Asst. U.S. Attorney
Courtroom Deputy                        Court Reporter                              Not Present


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U.S.A. vs (Dfts listed below)           Attorneys for Defendants

1)       JERMAINE HOUSTON                           1)       Moriah S. Radin
         Not Present                                         Not Present

______________________________________________________________________________
PROCEEDINGS:               MINUTE ORDER (IN CHAMBERS)


      COUNSEL ARE NOTIFIED the VIOLATION OF SUPERVISED RELEASE
HEARING set for July 1, 2013 at 1:30 p.m., is hereby taken off calendar, the hearing
date vacated and will be re-set at a later date.




cc: P.O.



                                                                                             :   N/A

                                                     Initials of Deputy Clerk   JAC


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